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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE
__________________________________________
                                          :
SHAMROCK BUILDING MATERIALS, INC.         :
                                          :
                        Plaintiff,        :   Court No. 20-00074
                                          :
                  v.                      :
                                          :
THE UNITED STATES,                        :
                                          :
                        Defendant.        :
_________________________________________ :

                                           ORDER

        Upon reading plaintiff’s motion for summary judgment, defendant’s cross-motion for

summary judgment, and the parties’ response thereto; and upon consideration of other papers and

proceedings had herein, it is hereby

        ORDERED that plaintiff’s motion be, and hereby is denied, and it is further

        ORDERED that defendant’s cross-motion be, and hereby is granted, and it is further

        ORDERED that summary judgment be, and hereby is, entered for defendant, the United

States, and it is further

        ORDERED that this action is dismissed.


                                             _____________________________
                                             Timothy C. Stanceu, Senior Judge

Dated: __________________
       New York, New York




                                               3
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE
__________________________________________
                                          :
SHAMROCK BUILDING MATERIALS, INC.         :
                                          :
                        Plaintiff,        :   Court No. 20-00074
                                          :
                  v.                      :
                                          :
THE UNITED STATES,                        :
                                          :
                        Defendant.        :
_________________________________________ :

            DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMENT

       Defendant, the United States, pursuant to Rule 56 of the Rules of the United States Court

of International Trade, cross-moves this Court for summary judgment against plaintiff,

Shamrock Building Materials, Inc. Summary judgment in favor of defendant is appropriate

because there are no genuine issues of material fact, and defendant is entitled to judgment in its

favor as a matter of law, as explained in the accompanying memorandum of law.
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       WHEREFORE, defendant respectfully moves this Court to enter an order granting its

cross-motion for summary judgment and dismissing this action.

                                          Respectfully submitted,

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                                          Principal Deputy Assistant Attorney General

                                          PATRICIA M. McCARTHY
                                          Director

                                              /s/ Justin R. Miller
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U.S. Customs and Border Protection

Dated: August 11, 2022
        Case 1:20-cv-00074-TCS Document 48         Filed 08/11/22    Page 4 of 57




UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE
__________________________________________
                                          :
SHAMROCK BUILDING MATERIALS, INC.         :
                                          :
                        Plaintiff,        :   Court No. 20-00074
                                          :
                  v.                      :
                                          :
THE UNITED STATES,                        :
                                          :
                        Defendant.        :
_________________________________________ :

        MEMORANDUM OF LAW IN RESPONSE TO PLAINTIFF’S MOTION
            FOR SUMMARY JUDGMENT AND IN SUPPORT OF THE
         GOVERNMENT’S CROSS-MOTION FOR SUMMARY JUDGMENT

                                        BRIAN M. BOYNTON
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U.S. Customs and Border Protection

Dated: August 11, 2022
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE
__________________________________________
                                          :
SHAMROCK BUILDING MATERIALS, INC.,        :
                                          :
                        Plaintiff,        :   Court No. 20-00074
                                          :
                  v.                      :
                                          :
THE UNITED STATES,                        :
                                          :
                        Defendant.        :
_________________________________________ :

          MEMORANDUM OF LAW IN RESPONSE TO PLAINTIFF’S MOTION
              FOR SUMMARY JUDGMENT AND IN SUPPORT OF THE
           GOVERNMENT’S CROSS-MOTION FOR SUMMARY JUDGMENT

         Pursuant to Rule 56 of the Rules of the United States Court of International Trade,

defendant, the United States (the Government), respectfully submits this memorandum in

support of its cross-motion for summary judgment. We respectfully request that this Court enter

judgment classifying the electrical conduit under Heading 7306, Harmonized Tariff Schedule of

the United States (HTSUS), which covers “Other tubes, pipes and hollow profiles (for example,

open seamed or welded, riveted or similarly closed), of iron or steel.”

                                  STATEMENT OF THE CASE

      I. Nature Of The Case

         This case concerns the tariff classification of electrical metallic tubing conduit (EMT)

and intermediate metallic conduit (IMC) (collectively referred to as electrical conduit) imported

by plaintiff, Shamrock Building Materials, Inc. (Shamrock), through the port of Laredo, Texas,

from June 1, 2018 to October 22, 2018. Compl. ¶ 8; Summons at Schedule of Protest (Dkt. No.

1).
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       When the merchandise entered the country, Shamrock classified it as “Electrical conduit

tubing and joints therefor, of base metal lined with insulating material” under Heading 8547,

HTSUS. Pl. Ex. VIII (Transcript of the deposition of Mr. Michael Gambee1 (Gambee Tr.) at

281:7–10); Compl. ¶ 33. Specifically, Shamrock classified the electrical conduit under

subheading 8547.90.00, which provides for:

       8547           Insulating fittings for electrical machines, appliances or
                      equipment, being fittings wholly of insulating material
                      apart from any minor components of metal (for example,
                      threaded sockets) incorporated during molding solely for
                      the purposes of assembly, other than insulators of heading
                      8546; electrical conduit tubing and joints therefor, of base
                      metal lined with insulating material:

       8547.90.00             Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .4.6%

       Shamrock imported the electrical conduit from Mexico and claimed duty-free treatment

under the North American Free Trade Agreement (NAFTA). Compl. ¶ 34. In approximately

August of 2018, U.S. Customs and Border Protection (CBP) began reviewing Shamrock’s

classification of the electrical conduit. After verifying the nature of the imported merchandise,

CBP classified the electrical conduit (depending on wall thickness) at liquidation under either

subheading 7306.30.10, HTSUS, which provides as follows:

       7306           Other tubes, pipes and hollow profiles (for example, open
                      seamed or welded, riveted or similarly closed), of iron or
                      steel:

       7306.30                Other, welded, of circular cross section, of iron or nonalloy
                              steel:

       7306.30.10                       Having a wall thickness of less than 1.65 mm. . Free



1Mr. Gambee is currently the president and part owner of Shamrock and is responsible for
overseeing the operations of the company. Pl. Ex. VIII (Gambee Tr. at 21:22–22:20, 153:5–10).
He has held the position of president since 2006. Id. (Gambee Tr. at 22:15–20). Shamrock
designated Mr. Gambee to testify on its behalf pursuant to USCIT Rule 30(b)(6).
                                                        2
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or under 7306.30.50, HTSUS, which provides as follows:

       7306           Other tubes, pipes and hollow profiles (for example, open
                      seamed or welded, riveted or similarly closed), of iron or
                      steel:

       7306.30                Other, welded, of circular cross section, of iron or nonalloy
                              steel:

       7306.30.50                    Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Free

       Both subheadings of 7306 are duty-free, but at the time the electrical conduit was entered,

merchandise classifiable under Heading 7306 and imported from Mexico was subject to a 25

percent duty imposed pursuant to section 232 of the Trade Expansion Act of 1962 (19 U.S.C. §

1862) (section 232 duties). See Subheading 9903.80.01, HTSUS (2018 Rev. 5).

       Shamrock decided to classify its merchandise in Heading 8547, HTSUS, because of the

implementation of the section 232 duties. Pl. Ex. VIII (Gambee Tr. at 280:5–283:2). Prior to

May 2018, Shamrock consistently classified similar imports of electrical conduit under Heading

7306, HTSUS, as “Other tubes, pipes and hollow profiles . . . of iron or steel.” Id. (Gambee Tr.

at 280:5–282:1).

       After CBP liquated the electrical conduit under Heading 7306, HTSUS, Shamrock

protested the liquidation, claiming classification in subheading 8547.90.00, HTSUS, which does

not carry section 232 duties. Compl. ¶¶ 33, 34, 48. CBP denied the protests. Compl. ¶ 48. In

its complaint, Shamrock continues to claim that the merchandise is classifiable under subheading

8547.90.00, HTSUS. Compl. ¶¶ 33.

   II. Nature Of The Merchandise

       a. The Physical Characteristics, Purpose, And Use Of The Electrical Conduit

       The subject electrical conduit consists of hollow concentric tubes constructed of steel. Pl.

Ex. VIII (Gambee Tr. at 37:13–22); Def. Ex. 1 (Plaintiff’s Resp. to Defendant’s First Set of

                                                   3
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Interrogatories (Pl. Resp. to Rogs.) No. 3). It is sold in ten-foot lengths, at varying diameters,

and is threaded at both ends. Pl. Ex. VIII (Gambee Tr. at 41:1–18, 45:2–21). Each ten-foot

piece of electrical conduit can be connected to another with a steel threaded coupling. Id.

(Gambee Tr. at 44:2–45:21). Shamrock provided pieces of the electrical conduit to the

Government during discovery, which are being submitted to the Court with this cross-motion for

summary judgment. 2 Def. Ex. 2 (samples of imported merchandise); (Def. Ex. 3 (Plaintiff’s

Resp. to Defendant’s First Request for Production of Documents and Things (Pl. Resp. to RFP)

No. 25).

       Once coupled together, the pieces of electrical conduit form a “raceway” used to route

electrical wires from one location to another. Pl. Ex. VIII (Gambee Tr. at 108:9–109:6); Def. Ex.

1 (Pl. Resp. to Rogs. No. 6). In addition to routing the wires, the electrical conduit serves to

contain the electrical wires once installed in the conduit tubing and to provide physical protection

from damage due to outside or external forces. Pl. Ex. VIII (Gambee Tr. at 111:3–19). The

electrical wires that are contained within the electrical conduit carry a minimum of 120 volts of

electricity. Def. Ex. 5 (Affidavit of Dr. Sakis Meliopoulos 3 (Meliopoulos Aff.) ¶ 18).

       Shamrock does not produce its electrical conduit but rather purchases it from a company

named Rymco (also known as Conduit S.A. de C.V.). Pl. Ex. VIII (Gambee Tr. at 49:4–50:10).




2 The samples provided by Shamrock are not ten feet in length. Def. Ex. 2. They appear to be
cut on both ends and do not exhibit the threading that would typically appear on each end of a
finished piece of electrical conduit. Id. Shamrock also produced photographs of similar
electrical conduit that is uncut, in finished form, and installed in an industrial setting. Def. Ex. 4.
In addition, CBP obtained samples of the merchandise from certain entries at issue in this action.
These samples were provided to the Court pursuant to USCIT Rule 73.1(b). See Dkt. No. 16.

3As explained below, Dr. Meliopoulos is a professional electrical engineer, teaches electrical
engineering at the university level, and tested the imported conduit to determine certain aspects
of its electrical properties.
                                                  4
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Rymco manufactures the electrical conduit by rolling flat pieces of steel into the shape of a tube

and welding the seam together. Id. (Gambee Tr. at 75:15–76:21). Once the shape is formed, the

steel tube is coated on the outside with zinc and on the inside with epoxy enamel (the interior

coating). Id. (Gambee Tr. at 46:6–11). The zinc coating galvanizes the product to prevent rust.

Pl. Ex. VIII (Gambee Tr. at 77:15–78:6). The interior coating provides for the “easy installation

of wire” by protecting against damage to the wiring by reducing friction when the wires are

pulled through the interior of the steel tube and it stops corrosion. Def. Ex. 6 (product brochure);

Compl. ¶ 16; Pl. Ex. VIII (Gambee Tr. at 86:8–19).

       Shamrock considers the electrical conduit to be electrical equipment because it is sold

exclusively to electrical contractors and distributors. Id. (Gambee Tr. at 49:16–19, 112:20–

113:4). Shamrock’s customers purchase the electrical conduit with the subject interior coating

because it provides lubrication for the installation of electrical wires. Id. (Gambee Tr. at 61:1–

16, 104:8–105:7).

       Shamrock has a product brochure that advertises the features and benefits of the electrical

conduit. Def. Ex. 6; Pl. Ex. VIII (Gambee Tr. at 106:17–107:7); Def. Ex. 3 (Pl. Resp. to RFP

No. 21). Shamrock’s product brochure states that the “interior coating insulates [the] wall to

provide easy installation of wires;” that the electrical conduit provides the benefit of “[p]hysical

and mechanical protection;” and, that the electrical conduit provides the benefit of “[s]ystem

grounding.” Def. Ex. 6. The term “insulate” in Shamrock’s product brochure refers to the

physical protection provided by the coating to prevent damage to the electrical wires during

installation in the electrical conduit. Def. Ex 6; Pl. Ex. VIII (Gambee Tr. at 121:2–122:12).

       System grounding refers to an electrical safety mechanism where, in the event of an

electrical fault occurring inside of the electrical conduit (i.e., a damaged or frayed electrical wire



                                                  5
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making contact with the inner surface of the conduit), the interior wall of the conduit will

conduct the stray electricity and provide a path for the electricity to run to ground. Pl. Ex. VIII

(Gambee Tr. at 141:17–143:19); Pl. Ex. IV (Transcript of the deposition of Dr. Joshua Jackson 4

(Jackson Tr.) at 39:12–40:11, 185:15–187:11); Def. Ex. 5 (Meliopoulos Aff. at ¶ 28). A material

that conducts electricity, does not provide electrical insulation. Pl. Ex. IV (Jackson Tr. at

170:11–22); Def. Ex. 5 (Meliopoulos Aff. at ¶ 31).

       Shamrock’s product brochure also indicates that the electrical conduit complies with

several electrical industry standards, including American National Standard (ANSI) C80.3,

Underwriters Laboratory (UL) 797, and National Electrical Code (NEC) Article 358. Def. Ex. 6;

Pl. Ex. VIII (Gambee Tr. at 122:13–123:20, 155:4–17, 162:18–163:18, 171:14–22); Def. Ex. 1

(Pl. Resp. to Rogs. No 11). According to the industry standards that govern the imported

merchandise, electrical conduit is capable “for use as an equipment grounding conductor” and of

providing “for the electrical continuity required of an equipment grounding conductor.” Def. Ex.

8 (UL 797 at sec. 3.6); Def. Ex. 9 (ANSI C80.3 at sec. 1); Def. Ex. 10 (NEC Art. 358.2). For

conduit to operate as an equipment grounding conductor its interior wall must be capable of

conducting electricity in the event of an electrical fault occurring inside the conduit tubing. Def.

Ex. 5 (Meliopoulos Aff. ¶¶ 28–30).

       b. Interior Coating Of The Electrical Conduit

       Rymco does not produce the material used to coat the interior of the electrical conduit —

this material is produced by a company named Pinturas Diamex. Pl. Ex. VIII (Gambee Tr. at




4 Dr. Jackson is CEO and senior metallurgist at U.S. Corrosion Services and previously held the
title of CEO at G2MT Laboratories. Pl. Ex. IV (Jackson Tr. at 20:25–21:6). Shamrock retained
Dr. Jackson to conduct testing on the subject conduit. Id. (Jackson Tr. at 41:22–42:8).


                                                 6
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90:17–91:6). Pinturas Diamex refused to provide the exact formulation of the chemical

composition of the interior coating. Def. Ex. 3 (Pl. Resp. to RFP No. 9)). However, as part of

the administrative proceedings in this case, Shamrock provided a letter to CBP from Pinturas

Diamex that expounded on the properties of the interior coating.

       In the letter, Pinturas Diamex indicated that the interior coating, “with the proper

application, [] forms protective insulating coating over the underlying material” (Def. Ex. 7

(Pinturas Diamex Letter Dated Oct. 12, 2018)) and “at the proper thickness and even application,

will create a film with electrical insulating properties.” Id. (Pinturas Diamex Letter Dated Nov.

26, 2018). There is no further information on the judicial record regarding how the interior

coating is applied to the steel tubes; the intended thickness of the interior coating (other than

what is observable in the samples exchanged in this litigation); whether the thickness of the

interior coating is uniform throughout each piece of conduit; or whether the thickness of the

interior coating is uniform from one piece of electrical conduit to another. Pl. Ex. VIII (Gambee

Tr. at 78:10–12, 80:2–83:10).

       Given this lack of information from the manufacturer of the interior coating, the

Government retained Dr. Sakis Meliopoulos to test the imported merchandise and determine

whether the interior coating of the electrical conduit insulates against electricity. See Def. Ex. 5

(Report of Dr. Sakis Meliopoulos dated October 20, 2021 (Meliopoulos Report)). Dr.

Meliopoulos received a PhD in electrical engineering from the Georgia Institute of Technology

in 1976. See id. (Meliopoulos Report at Attachment A). Since then, he has worked as a

professional electrical engineer and is currently a professor at the Georgia Institute of

Technology, School of Electrical and Computer Engineering in Atlanta, Georgia. See id. Over




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his career, Dr. Meliopoulos has more than 47 years of experience in power system analysis

(which includes the use of electrical conduit).5 See id.

       Dr. Meliopoulos conducted electrical testing on the interior coating of the electrical

conduit to determine whether it insulates against the flow of electricity. Def. Ex. 5 (Meliopoulos

Aff. ¶ 5). As explained later below, he determined it did not. Id.

                                   QUESTIONS PRESENTED

       1.      Whether Shamrock’s electrical conduit is classifiable in Heading 7306, HTSUS,

as “Other tubes, pipes and hollow profiles . . . of iron or steel;”

       2.      Whether Shamrock’s electrical conduit is classifiable in Heading 8547, HTSUS,

as “Electrical conduit tubing and joints therefor, of base metal lined with insulating material.”

                                  SUMMARY OF ARGUMENT

       Shamrock’s electrical conduit tubing is prima facie classifiable in Heading 7306,

HTSUS, because it consists of steel tubing.

       The electrical conduit is precluded from classification in Heading 8547, HTSUS, because

it is not lined with insulating material. As shown by dictionaries, industry definitions, and the

explanatory notes to the tariff, the common meaning of “insulating,” as used in Heading 8547, is

to prevent the flow of electricity. Both parties performed electrical testing on the interior coating

of the electrical conduit, and the record evidence shows that the coating does not prevent the

flow of electricity.




5For a full recitation of Dr. Meliopoulos’s experience, his curriculum vitae is attached as
Attachment A to the Meliopoulos Report. Def. Ex. 5.
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                                           ARGUMENT

I.      STANDARD OF REVIEW

        On a motion for summary judgment, the Court determines whether there are any factual

disputes that are material to the resolution of the action. See Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 247–48 (1986); Texas Apparel Co. v. United States, 698 F. Supp. 932, 934 (Ct.

Int’l Trade 1988), aff’d, 883 F.2d 66 (Fed. Cir. 1989), cert. denied, 493 U.S. 1024 (1990)

(citations omitted). “The court may not resolve or try factual issues on a motion for summary

judgment.” Phone-Mate, Inc. v. United States, 690 F. Supp. 1048, 1050 (Ct. Int’l Trade 1988),

aff’d, 867 F.2d 1404 (Fed. Cir. 1989) (citation omitted).

        The Court may resolve a classification issue by means of summary judgment. See

Bausch & Lomb, Inc. v. United States, 148 F.3d 1363, 1365 (Fed. Cir. 1998). A classification

decision is a question of law based upon two underlying steps. First, the Court must determine

the proper meaning of the tariff provisions at hand. See Universal Elecs., Inc. v. United States,

112 F.3d 488, 491 (Fed. Cir. 1997). The second step is to determine whether the subject

merchandise properly falls within the scope of the possible headings. Id.

        The first step is a question of law, while the second step is one of fact. Id.; Pillowtex

Corp. v. United States, 171 F.3d 1370, 1373 (Fed. Cir. 1999). Where there is no factual dispute

regarding the nature, structure, and use of the imported merchandise, the classification issue

collapses entirely into a question of law, and the Court reviews Customs’ classification decision

de novo. See Kahrs Int’l, Inc. v. United States, 713 F.3d 640, 643–45 (Fed. Cir. 2013) (citations

omitted); see also Bausch & Lomb, 148 F.3d at 1365 (“[S]ummary judgment is appropriate when

there is no genuine dispute as to the underlying factual issue of exactly what the merchandise

is.”) (citation omitted).



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        In addition, “[t]he General Rules of Interpretation [(GRIs)] govern the interpretation of

HTSUS classifications.” Dell Prods. LP v. United States, 642 F.3d 1055, 1057 (Fed. Cir. 2011).

GRI 1 provides that classification shall be determined according to the terms of the headings of

the tariff schedule and any relative section or chapter notes. The chapter and section notes of the

HTSUS “are not optional interpretive rules but statutory law.” Lerner New York, Inc. v. United

States, 908 F. Supp. 2d 1313, 1318 (Ct. Int’l Trade 2013). In the event that the goods cannot be

classified solely on the basis of GRI 1, and if the headings and legal notes do not otherwise

require, the remaining GRIs, 2 through 6, may then be applied in order. See Kahrs Int’l, Inc.,

713 F.3d at 644.

       Once imported merchandise is determined to be classifiable under a particular heading, a

court must look to the subheading to find the correct classification of the merchandise in

question. Lerner New York, Inc., 908 F. Supp. 2d at 1318 citing Orlando Food Corp. v. United

States, 140 F.3d 1437, 1440 (Fed. Cir. 1998). Similar to the rules interpreting the headings, GRI

6 states that “classification of goods in the subheadings of a heading shall be determined

according to the terms of those subheadings and any related subheading notes and, mutatis

mutandis, to the above rules.” Furthermore, the Additional U.S. Rules of Interpretation (ARIs)

may be considered if applicable. Lerner New York, Inc., 908 F. Supp. 2d at 1318. Finally, the

court may also consider any relevant Explanatory Notes. Fuji Am. Corp. v. United States, 519

F.3d 1355, 1357 (Fed. Cir. 2008). “The [Explanatory Notes] provide persuasive guidance and

are generally indicative of the proper interpretation, though they do not constitute binding

authority.” Chemtall, Inc. v. United States, 878 F.3d 1012, 1019 (Fed. Cir. 2017).




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         Because the material facts regarding the nature of the merchandise at issue are

undisputed, and classification is therefore entirely a question of law, this case is ripe for

summary judgment.

II.     THE ELECTRICAL CONDUIT IS PRIMA FACIE CLASSIFIABLE IN HEADING
        7306, HTSUS, BECAUSE IT IS STEEL TUBING

        To interpret a heading under the HTSUS, the Court must first “assess whether the subject

[h]eading[] constitute[s an] eo nomine or use provision[] because different rules and analysis will

apply depending upon the heading type.” Ford Motor Co. v. United States, 926 F.3d 741, 750

(Fed. Cir. 2019) (citations omitted) (alternations in original). An eo nomine provision “describes

an article by a specific name.” Id. “Absent limitation or contrary legislative intent, an eo nomine

provision ‘include[s] all forms of the named article[,]’ even improved forms.” Camelbak Prods.,

LLC v. United States, 649 F.3d 1361, 1364–65 (Fed. Cir. 2011) (citations omitted) (alternations

in original).

        Heading 7306 is an eo nomine provision because it covers “[o]ther tubes, pipe and hollow

profiles (for example, open seamed or welded, riveted or similarly closed), of iron or steel.” The

subject electrical conduit is prima facie classified under this heading because it is steel tubing.

        Classifying the merchandise under Heading 7306 is confirmed by the Explanatory Notes

to Chapter 73, HTSUS. General Explanatory Note to Chapter 73, HTSUS, provides as follows:

                For the purposes of this Chapter, the expression “tubes and pipes”
                and “hollow profiles” have the following meanings hereby assigned
                to them:

                (1) Tubes and pipes

                Concentric hollow products, of uniform cross-section with only one
                enclosed void along their whole length, having their inner and outer
                surfaces of the same form. Steel tubes are mainly of circular, oval,
                rectangular (including square) cross-sections but in addition may
                include equilateral triangular and other regular convex polygonal


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                cross-sections. . . . They may be polished, coated, bent (including
                coiled tubing), threaded and coupled or not, drilled, waisted,
                expanded, cone shaped or fitted with flanges, collars or rings.

         Here, the electrical conduit is made entirely of welded carbon steel, is of circular cross-

section, is threaded at the ends, and coated on the inside and out. Compl. ¶¶ 10, 11; Pl. Ex. VIII

(Gambee Tr. at 44:2–45:7); Def. Ex. 2. It is often referred to as steel tube or steel pipe. Compl.

¶ 10; Pl. Ex. VIII (Gambee Tr. at 35:5–20). Based on these undisputed facts, the subject

electrical conduit is prima facie described by Heading 7306, HTSUS.

III.     THE ELECTRICAL CONDUIT CANNOT BE CLASSIFIED IN HEADING 8547,
         HTSUS, BECAUSE IT LACKS A LINING OF INSULATING MATERIAL

         Insulated electrical conduit tubing is classified under Heading 8547, not Heading 7306.

See Explanatory Note 73.06 (excluding “[i]nsulated electrical conduit tubing (heading 85.47)”

from classification under heading 7306). Heading 8547, HTSUS, covers “electrical conduit

tubing and joints therefor, of base metal lined with insulating material.”

         As we demonstrate below, the common meaning of insulating material within the context

of Heading 8547 is to prevent the flow of electricity. Shamrock’s electrical conduit cannot be

classified in this provision because the interior coating of Shamrock’s conduit does not prevent

the flow of electricity.

       A. The Common Meaning Of “Insulating Material” in Heading 8547 Is To Prevent
          The Flow Of Electricity

         Under GRI 1, the Court must determine the appropriate classification “according to the

terms of the headings and any relative section or chapter notes.” The meaning of a tariff term, a

matter of statutory construction, presents a question of law. Bausch & Lomb, Inc. v. United

States, 148 F.3d 1363, 1366 (Fed. Cir. 1998).




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       When a term is not defined in either the tariff or its legislative history, the terms of the

HTSUS are construed according to their common commercial meanings. Len–Ron Mfg. Co.,

Inc. v. United States, 334 F.3d 1304, 1309 (Fed. Cir. 2003); Mita Copystar Am. v. United

States, 21 F.3d 1079, 1082 (Fed. Cir. 1994). The common meaning of a term used

in commerce is presumed to be the same as its commercial meaning. Simod Am. Corp. v. United

States, 872 F.2d 1572, 1576 (Fed. Cir. 1989). To ascertain the common meaning of a term,

a court may consult “dictionaries, scientific authorities, and other reliable information sources”

and “lexicographic and other materials.” C.J. Tower & Sons v. United States, 673 F.2d 1268,

1271 (CCPA 1982); Simod, 872 F.2d at 1576.

       Here, Heading 8547, HTSUS, covers “electrical conduit tubing and joints thereof, of base

metal, lined with insulating material.” The parties disagree over the proper interpretation of

“insulating material” found in this provision.

       First, “[s]tatuotry construction is a ‘holistic endeavor.’” Koons Buick Pontiac GMC, Inc.

v. Nigh, 543 U.S. 50, 59 (2004) (citations omitted). “Statutory interpretation is not a game of

blind man’s bluff. Judges are free to consider statutory language in light of a statute’s basic

purpose.” Dole Food Co. v. Patrickson, 538 U.S. 468, 483 (2003) (Breyer, J. dissenting).

Indeed, “[t]ariff acts must be construed to carry out the intent of the legislature, which is

determined initially by looking at the language of the statute itself.” EOS of N. Am. v. United

States, 911 F. Supp. 2d 1311, 1318 (Ct. Int’l Trade 2013) (internal citation omitted).

       Here, the drafters of heading 8547 did not use the term “insulating material” in isolation.

Rather, it was used in conjunction with “electrical conduit tubing,” which is a type of electrical

equipment. Heading 8547 is included within Chapter 85 and Section XVI, HTSUS. Both

Chapter 85 and Section XVI cover “Electrical Equipment.” Similarly, the General Explanatory



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Note to Chapter 85, which describes the “Scope and Structure of the Chapter,” provides that

“[t]his Chapter covers all electrical machinery and equipment.” EN (A) to Ch. 85, HTSUS.

Consequently, the term “insulating material” must be interpreted as it relates to electrical conduit

tubing and electrical equipment.

        The term “insulating” has several meanings. But within the context of electrical

equipment, it is commonly defined as preventing the passage of electricity. For example, the

Oxford English Dictionary defines “insulating,” in relevant part, as “[t]o cut off or isolate from

conducting bodies by the interposition of non-conductors, so as to prevent the passage of

electricity or heat.” https://www.oed.com/view/Entry/97228, last visited August 10, 2022.

Similarly, Merriam-Webster defines “insulating,” in relevant part, as “to separate from

conducting bodies by means of nonconductors so as to prevent transfer of electricity, heat, or

sound” (https://www.merriam-webster.com/dictionary/insulating last visited August 10, 2022)

and the Cambridge Online Dictionary defines “insulate” as “to cover or surround something with

a material or substance in order to stop heat, sound, or electricity from escaping or entering.”

https://dictionary.cambridge.org/us/dictionary/english/insulating, last visited August 10, 2022.

        Industry specific definitions go further and quantitatively define what is required for a

material to be considered “insulating.” The New IEEE Standard Dictionary of Electrical and

Electronics Terms defines “insulating material” as “[a] substance or body, the conductivity of

which is zero or, in practice, very small.” THE NEW IEEE STANDARD DICTIONARY OF

ELECTRICAL AND ELECTRONICS TERMS, 654 (Fifth ed. 1993). Thus, the common thread through

each of these authorities is that “insulating” is defined as stopping or preventing the flow of

electricity.




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       Shamrock contends that “insulating material” of Heading 8547, HTSUS, should be

interpreted broadly to include all forms of protection or separation, and not limited simply to

protection from the transfer of electricity. Pl. Br. at 20 (“The term ‘insulate’ is a broad concept

that has many connotations including heat, sound, or electricity but is not limited to these

application, or any one of these applications individually.”). Shamrock’s interpretation,

however, misses the mark because it fails to consider the common meaning of the term as it

relates to the surrounding terms of the heading. Shamrock disregards the fact that the term is

used in conjunction with “electrical conduit tubing,” which is a type of electrical equipment.

“Where a tariff term has various definitions or meanings and has broad and narrow

interpretations, the court must determine which definition best invokes the legislative intent.”

EOS of N. Am., 911 F. Supp. 2d at 1318 (internal citation omitted).

       Here, because Chapter 85 covers electrical equipment, merchandise is classified within

this chapter due to its electrically conducting or insulating properties. For example, the

Explanatory Notes to Chapter 85, HTSUS, provide that “[t]his Chapter covers: (7) Certain

articles and materials which are used in electrical apparatus and equipment because of their

conducting or insulating properties, such as insulated electric wire and assemblies thereof

(heading 85.44), insulators (heading 85.46), insulating fittings and metal conduit tubing with an

interior insulating lining (heading 85.47).” General Explanatory Note to Chapter 85, HTSUS

(emphasis added). 6 By using the terms “conducting” and “insulating” in the same statutory

framework, it is evident that the drafters of the tariff intended for the term “insulating” in

Chapter 85 to be interpreted as preventing the flow of electricity.



6Heading 8547 itself also includes “[i]nsulating fittings for electrical machines, appliances or
equipment, being fittings wholly of insulating material apart from any minor components of
metal . . . other than insulators of heading 8546.” Heading 8547, HTSUS, (emphasis added).
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       Indeed, the Explanatory Notes to Heading 8547 confirm that insulating material must

provide electrical insulation. Explanatory Note 85.47 provides that “[t]his group covers the

metal tubing used in permanent electrical installations (e.g., house wiring) as insulation and

protection for the wires, provided it has an interior lining of insulating material. Uninsulated

metal tubing, often used for the same purpose, is excluded (Section XV).” 7 EN 85.47(B)

(emphasis in the original). EN 85.47 continues: “The insulating material may be special

electrically insulating varnish, paper or paperboard, rubber, plastic, etc.” Id. (emphasis added).

       Defining “insulating material” without regard to the context or surrounding terms of the

heading would lead to illogical results. For instance, in B.F. Goodrich Co. v. United States, 38

Cust. Ct. 72 (1957), the court was tasked with determining the proper classification of “Auto

Weather Stripping.” Id. at 72. The court found that it was classifiable as “insulating material”

because it was “tacked or stapled or otherwise fastened around the perimeter of [a car] door so

that, when the door was closed against it, wind, dust, and rain would be kept out and vibration of

the door would be absorbed.” Id. In other words, the court determined that the weather stripping

was insulating material within the context of its purpose and use — i.e., protection from weather.

Because the weather stripping was designed and used for application on car doors to prevent the

passage of “wind, dust, and rain,” it was appropriate to define “insulating” in the context of

weather. Comparatively, evaluating the classification of the weather stripping based upon its

ability to insulate against heat or electrically would be illogical because it is not used for that

purpose.




7Section XV covers Heading 7306, which is the provision within which CBP liquidated the
electrical conduit.


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        Accordingly, “insulating material” of Heading 8547, HTSUS, must be defined with an

eye toward its intended purpose by the drafters of the tariff. Here, Shamrock’s electrical conduit

is electrical equipment and thus to be classifiable in Heading 8547 the electrical conduit must be

lined with material that insulates, i.e., prevents, against the flow of electricity.

        Still, Shamrock relies on two cases from this Court’s predecessor to further support its

legal arguments for classification in Heading 8547, HTSUS. Pl. Br. at 22–23 (citing Naftone,

Inc. v. United States, 67 Cust. Ct. 341 (1971) and Inter-Maritime Forwarding Co., Inc. v. United

States¸ 70 Cust. Ct. 133 (1973)). Shamrock argues these cases are instructive because the

customs court distinguished between insulating material and articles properly classified as

“insulators” in section 773.30 of the Tariff Schedule of the United States (TSUS). However, the

language of the tariff statute has changed, and Naftone and Inter-Maritime Forwarding are

inapposite to the proper interpretation of the current version of the statute.

        In both cases, the customs court found the article at issue to be insulating material

because they did not conduct electricity. However, the court concluded that the articles were not

“insulators” of section 773.30, TSUS, because that term was found to have a specific meaning

under the tariff as it was written at that time — i.e., defining “insulators” as a piece of equipment

designed to provide electrical insulation rather than the material that is used to create that

equipment. Naftone, Inc., 67 Cust. Ct. at 347–48; Inter-Maritime Forwarding Co., Inc.¸ 70 Cust.

Ct. at 139–40. Thus, neither case is applicable because they do not discuss the current language

of the statute, i.e., “insulating material” as it is used in Heading 8547, HTSUS. If anything, these

two cases support the interpretation of the current tariff statute demonstrated by the Government

as both found the products under review to be insulating material due to their ability to act as a




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non-conductor of electricity. Naftone, Inc., 67 Cust. Ct. at 342–43; Inter-Maritime Forwarding

Co., Inc.¸ 70 Cust. Ct. at 136.

    B. The Interior Coating Of Shamrock’s Electrical Conduit Does Not Prevent The
       Flow Of Electricity

           1. Shamrock’s Corporate Documents Show That The Interior Coating Of The
              Electrical Conduit Does Not Prevent The Flow Of Electricity

       Shamrock advertises its electrical conduit to the electrical industry with a product

brochure, which is the only document Shamrock uses to convey information regarding the

features and benefits of the product. Def. Ex. 6; Pl. Ex. VIII (Gambee Tr. at 106:17–107:7); Def.

Ex. 3 (Pl. Resp. to RFP No. 21). The product brochure is devoid of any reference to electrical

insulation and does not state that the interior coating of the electrical conduit provides insulation

against electricity. Def. Ex. 6. The only mention of insulation (the “[s]mooth interior coating

insulates [the] wall to provide easy installation of wire”) refers to the physical protection

afforded to the electrical wires so as to prevent damage during installation. 8 Id.; Pl. Ex. VIII

(Gambee Tr. at 121:2–122:12). The omission of information regarding the electrically insulating

properties of the interior coating is significant because if the interior coating did provide

insulation against electricity, other features of the conduit advertised in the product brochure

would be inaccurate.



8 Electrical conduit is installed in ten-foot runs that are connected to another to form a raceway.
Compl. ¶ 9, 13; Pl. Ex. VIII (Gambee Tr. at 44:2–45:21); Def. Ex. 1 (Pl. Resp. to Rogs. No. 6);
Def. Ex. 4. The electrical conduit raceway permits the electrical wires to be routed from one
location to another and serves to protect the wires contained therein from external damage.
Compl. ¶ 9; Pl. Ex. VIII (Gambee Tr. at 108:9–109:6, 111:3–19). According to Shamrock, the
electrical industry demands electrical conduit with interior coating that provides lubrication to
aid in the installation of electrical wires. Ex. VIII (Gambee Tr. at 61:1–16, 104:8–105:7). This
coating allows the wires to be easily routed through hundreds of feet of electrical conduit,
including 90-degree bends, without causing damage to the wires. Id. (Gambee Tr. at 104:8–
105:7).


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       For example, Shamrock’s product brochure states that the electrical conduit provides the

benefit of “system grounding.” Def. Ex. 6. System grounding refers to the flow of electrical

current through the interior wall of the conduit back to the source, in the event of an electrical

fault (i.e., accidental contact between exposed wire contained inside the electrical conduit and

the interior wall of the electrical conduit). Def. Ex. 5 (Meliopoulos Aff. ¶ 28–30) (Meliopoulos

Report at 9–10). To provide “system grounding,” the electrical resistance of the interior coating

of the conduit must be low enough to allow the flow of a large current of electricity to circulate

from the breaker to the wires inside the conduit and through the interior coating back to the

source. Id. The circuit breaker connects the electrical wires installed inside the conduit to the

electrical power source and when a high level of electricity flows through the circuit breaker, the

breaker will detect the fault and will disconnect the circuit in a very short amount of time. Id.

This safety mechanism protects humans from electrocution and prevents property damage. Id.

(Meliopoulos Aff. ¶ 29).

       In other words, if an electrical fault occurs within the electrical conduit, the interior wall

will conduct electricity and allow the electricity to freely flow through the circuit breaker to

disconnect the electrical circuit. Id. (Meliopoulos Aff. ¶ 30) (Meliopoulos Report at 3, 9–10).

Because the interior wall of the electrical conduit conducts electricity, the interior coating of

Shamrock’s conduit necessarily cannot provide electrical insulation or stop the flow of

electricity. Id. (Meliopoulos Aff. ¶ 31) (Meliopoulos Report at 3). This factual conclusion is

undisputed. Pl. Ex. VIII (Gambee Tr. at 141:17–143:19); Pl. Ex. IV (Jackson Tr. at 39:12–

40:11, 185:15–187:11).

       In the electrical field, conductivity is the opposite of insulating. Pl. Ex. VIII (Gambee Tr.

at 147:7–21); Pl. Ex. IV (Jackson Tr. at 170:11–22). A material that conducts electricity, does



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not insulate against electricity. THE NEW IEEE STANDARD DICTIONARY OF ELECTRICAL AND

ELECTRONICS TERMS, 238 (Fifth ed. 1993) (defining a “conductor” as “[a] substance or body that

allows a current of electricity to pass continuously along it). The inverse is also true. Id. at 654

(defining “insulating material” as “[a] substance or body, the conductivity of which is zero or, in

practice, very small”). As Shamrock’s corporate documents show, the interior coating of the

electrical conduit conducts electricity and therefore does not provide electrical insulation.

       That the interior coating cannot insulate against electricity is further confirmed by the

electrical industry standards to which Shamrock’s electrical conduit complies. According to

Shamrock, it’s electrical conduit complies with several industry standards, including UL 797 9;

ANSI C80.3; and NEC Article 358. Def. Ex. 6; Pl. Ex. VIII (Gambee Tr. at 122:13–123:20,

155:4–17, 162:18–163:18, 171:14–22); Def. Ex. 1 (Pl. Resp. to Rogs. No. 11).

       All three applicable standards require that the interior coating of the electrical conduit

conduct electricity. For example, UL 797 defines electrical conduit as “for use as an equipment

grounding conductor.” Def. Ex. 8 (UL 797 at Sec. 3.6). Similarly, Article 358.60 of the NEC

provides that the electrical conduit “shall be permitted as an equipment grounding conductor”

(Def. Ex. 10) and ANSI C80.3 states that the electrical conduit should “provide for the electrical

continuity required of an equipment grounding conductor.” Def. Ex. 9 (ANSI C80.3 at Sec. 1).

An equipment grounding conductor provides an electrical path to ground by conducting

electricity in the event of a fault occurring inside of the electrical conduit. Def. Ex. 5

(Meliopoulos Report at 3). Electrical continuity is defined as the “ability of the various sections




9Affixed to each piece of electrical conduit sold by Shamrock is a label certifying that it
complies with UL standards. Def. Ex. 13.


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of the conduit to allow the free flow of electric current from one 10-foot section of conduit to the

next 10-foot section of the conduit.” Id. (Meliopoulos Report at 10).

       Shamrock’s customers, which are exclusively electrical contractors and distributors,

expect the electrical conduit to comply with UL 797 and rely on the standards set forth in UL

797 to inform their expectations as to the product that they are purchasing. Pl. Ex. VIII (Gambee

Tr. at 157:3–15, 160:2–10); Def. Ex. 3 (Pl. Resp. to RFP No. 22). Moreover, Shamrock is not

aware of any of its customers that purchase the electrical conduit specifically for the electrically

insulating properties allegedly provided by the interior coating. Pl. Ex. VIII (Gambee Tr. at

160:21–161:4). Therefore, it would be a disservice to its customers — and potentially dangerous

— if Shamrock were not to disclose that the interior coating insulated against electricity.

       Plainly, Shamrock’s advertisements and product information explaining the benefits of

the electrical conduit and the electrical standards to which it complies establishes that the interior

coating does not stop the flow of electricity, nor does it provide electrical insulation.

           2. Electrical Testing Performed On The Interior Coating Of The Electrical
              Conduit Shows That It Does Not Prevent The Flow Of Electricity
       There are two questions to be decided by the Court in this case: (1) whether the terms

“insulating material” as used in Heading 8547, HTSUS, should be interpreted as preventing the

flow of electricity; and (2) if so, whether the interior coating of Shamrock’s electrical conduit

serves that function. The first question is one of statutory interpretation, which is the province of

the Court to decide — not an expert witness. See Universal Elecs., Inc., 112 F.3d at 491; see

also United States v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir. 1991) (“As a general rule an

expert’s testimony on issues of law is inadmissible.”); EOS N. Am., 911 F. Supp. 2d at 1326

(rejecting opinion testimony as to the definition of a tariff term because “[t]he proper meaning of




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[a] term as used in the article description for heading 8463 . . . is a question of law for the court

to decide, not a question of fact”).

       The second question is factual in nature, and the admission of expert testimony for this

question is governed by Federal Rule of Evidence 702 and the standards articulated by the

United States Supreme Court in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).

Rule 702 states:

               If scientific, technical, or other specialized knowledge will assist the
               trier of fact to understand the evidence or to determine a fact in issue,
               a witness qualified as an expert by knowledge, skill, experience,
               training, or education, may testify thereto in the form of an opinion
               or otherwise.

Fed. R. Evid. 702.

       In Daubert, the Supreme Court interpreted this rule to require that “the trial judge must

ensure that any and all scientific testimony or evidence admitted is not only relevant, but

reliable.” Daubert, 509 U.S. at 589. “In other words, as a threshold matter ‘a district court is

required to determine (1) whether the expert would testify to valid scientific knowledge, and (2)

whether that testimony would assist the trier of fact with a fact at issue.’” Smith v. Ford Motor

Co., 215 F.3d 713, 718 (7th Cir. 2000) (citations omitted).

       First, “[i]n analyzing the reliability of proposed expert testimony, the role of the court is

to determine whether the expert is qualified in the relevant field and to examine the methodology

the expert has used in reaching his conclusions.” Id. at 718. This analysis includes ensuring that

even a “‘supremely qualified expert [does not] waltz into the courtroom and render opinions

unless those opinions are based upon some recognized scientific method.’” Id. (citations

omitted). Second, “[w]hen analyzing the relevance of proposed testimony, the district court must




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consider whether the testimony will assist the trier of fact with its analysis of any of the issues

involved in the case.” Id.

       Thus, the admission of expert testimony is based on a three-fold analysis: (1) is the

witness qualified in the relevant field; (2) is the witness’s methodology reliable; and (3) is the

proposed testimony relevant to a factual issue to be resolve in the case. Here, electrical testing

conducted by experts retained by both parties establishes that the interior coating of the electrical

conduit does not stop the flow of electricity.

       The Government retained Dr. Sakis Meliopoulos to perform electrical testing on the

interior coating of the electrical conduit to determine whether it provides insulation against the

flow of electricity. Dr. Meliopoulos holds a Ph.D. in electrical engineering, which he obtained

from the Georgia Institute of Technology in 1976. Def. Ex. 5 (Meliopoulos Report at

Attachment A). Since then, he has worked as a professional electrical engineer in the field and is

currently a professor at the Georgia Institute of Technology, School of Electrical and Computer

Engineering in Atlanta, Georgia. See id. Over his career, Dr. Meliopoulos has more than 47

years of experience in power system analysis, which includes the use of electrical conduit. See

id. He has performed numerous studies and he has published authoritative text books, all related

to the field of electrical engineering. See id. He has published over 400 technical papers relating

to electrical engineering and he has taught over 300 short courses/continuing education programs

to practicing electrical engineers in addition to teaching regular classes at Georgia Tech. See id.

He has consulted with most major utilities in the United States and abroad regarding power

systems. See id. He holds three patents related to electrical engineering and power systems. See

id. He has received numerous honors and awards for his achievements in the field of electrical

engineering and is a Fellow in the Institute of Electrical and Electronics Engineers (IEEE). See



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id. He has mentored and graduated 42 students in the Georgia Tech Ph.D. program in electrical

engineering. See id.

       Based upon Dr. Meliopoulos’s knowledge, skill, experience, training, and education he is

eminently qualified as an expert in the field of electrical engineering under Fed. R. Evid. 702.

Thus, he is qualified to conduct electrical tests upon the interior coating of the electrical conduit

and to advise the Court as to whether it insulates against electricity.

       The electrical testing performed by Dr. Meliopoulos establishes that the interior coating

of the electrical conduit does not stop the flow of electricity or provide electrical insulation. Def.

Ex. 5 (Meliopoulos Aff. ¶ 8); (Meliopoulos Report at 3). Dr. Meliopoulos reached this

conclusion by performing two steps: (1) conducting electrical testing on the samples of the

electrical conduit to determine the electrical resistance provided by the interior coating; (2) using

the electrical resistance, combined with the measured thickness of the interior coating, to

indirectly calculate the electrical resistivity of the material that comprises the interior coating.

Id. (Meliopoulos Aff. ¶ 9).

       Electrical resistance and electrical resistivity are not the same. Electrical resistance is an

electrical quantity that measures how a material of a specific shape and dimension reduces or

impedes the electrical current flow through it. Id. (Meliopoulos Aff. ¶ 10). Electrical resistance

is measured in ohms. Id. On the other hand, electrical resistivity is a fundamental property of a

material and is defined as the electrical resistance of a one-meter cube of the material. See id.

(Meliopoulos Aff. ¶ 10); (Meliopoulos Report at 4); see also Figure 1.




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                          Figure 1: Definition of Material Resistivity

Def. Ex. 5 (Meliopoulos Report at 4).

       Electrical resistivity is measured on a volume basis in ohms.meters. 10 Def. Ex. 5

(Meliopoulos Aff. ¶ 10) (Meliopoulos Report at 4). Once the electrical resistivity of a material is

known, that resistivity value can be used to determine the electrical resistance of any product

made up of that material in any geometric form or application. Id. (Meliopoulos Aff. ¶ 11)

(Meliopoulos Report at 4–6).

       In the electrical field, materials are classified as insulators, semiconductors, and

conductors based upon a range of electrical resistivities measured in terms of volume as

ohm.meters. Id. (Meliopoulos Aff. ¶ 12) (Meliopoulos Report at 4); see also Table 1.

          Insulators                   Semiconductors                      Conductors
     10 to 1020 ohm.meters
       12
                                     10 to 101 ohm.meters
                                        −5
                                                                       10 to 10−6 ohm.meters
                                                                          −8




            Table 1: Range of Resistivities for Electrical Classification of Materials



10Shamrock concurs with the above referenced definitions of electrical resistance and resistivity.
See Pl. Br. at 21.
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Def. Ex. 5 (Meliopoulos Report at 4).

        Dr. Meliopoulos was unable to directly measure the electrical resistivity of the material

that comprises the interior coating because the Government was not provided with a sufficiently

large enough sample. Def. Ex. 5 (Meliopoulos Aff. ¶ 13) (Meliopoulos Report at 7); see also

Figure 1. However, Dr. Meliopoulos was able to indirectly calculate the resistivity of the

material that comprises the interior coating by measuring the electrical resistance of the interior

coating (which can be directly tested with the sample provided) and combining the results of

those tests with measurements of the thickness of the coating obtained by Dr. Jackson.11 Id.

(Meliopoulos Aff. ¶ 13) (Meliopoulos Report at 8).

        Dr. Meliopoulos’s electrical testing and calculations resulted in two factual findings: (1)

the interior coating of Shamrock’s electrical conduit resists a very slight amount of electricity,

and is insufficient to insulate against the amount of electrical current the interior coating would

be subjected to under real word conditions in the event of an electrical fault occurring inside the

electrical conduit; (2) the electrical resistivity of the interior coating, determined indirectly, falls

into the range of a semi-conductor and therefore is not an insulator of electricity. 12 Id.

(Meliopoulos Aff. ¶ 14) (Meliopoulos Report at 3, 6–8).




11As part of his analysis of the properties of the electrical conduit, Dr. Jackson used scanning
electron microscopy (SEM) to measure the thickness of the interior coating of the electrical
conduit. His measurements produced varying results which ranged from 13 microns to 60
microns thick. Def. Ex. 11 at sec. 6; Pl. Ex. V at 11. Dr. Meliopoulos utilized Dr. Jackson’s
measurements in conducting his calculation to determine the electrical resistivity of the interior
coating.

12Dr. Meliopoulos estimates that for the material that comprises the interior coating to be an
insulator of electricity, its resistivity must increase by the order of 10 15 times. Def. Ex. 5
(Meliopoulos Aff. ¶ 14).
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       First, electrical testing permitted Dr. Meliopoulos to determine how much electricity the

interior coating resists by applying electrical current to the material. Id. (Meliopoulos Aff. ¶ 16).

Photographs and a full explanation of the testing procedures are supplied in Appendix A to Dr.

Meliopoulos’s Report. Id. (Report at Appx. A). The results of these tests establish that when

applying various levels of voltage to the interior coating (0.034 to 0.219 volts, i.e., 34–219

millivolts), the interior coating resists a very slight amount of electricity — approximately 3–14

milliohms (0.003–0.013 ohms) of resistance — depending on the amount of electrical current

applied. Id. (Meliopoulos Aff. ¶ 17) (Meliopoulos Report at 21). The full results of Dr.

Meliopoulos’s electrical resistance testing are as follows:

                             Table A-1: 4” Conduit Sample Results
   Figure #        Voltage            Current         Pressure         Impedance (mΩ)
                     (mV)              (A)
       1            99.500            10.110            low                  9.842
       2           219.200            20.180            low                 10.862
       3            83.500            10.010            high                 8.342
       4           176.900            30.210            high                 5.856

                             Table A-2: 1 ½” Conduit Sample Results
   Figure #        Voltage            Current         Pressure         Impedance (mΩ)
                     (mV)              (A)
       1            44.700            10.060            low                  4.443
       2            94.600            20.540            low                  4.606
       3           155.700            30.290            low                  5.140
       4            34.500            10.09             high                 3.419
       5            70.08             20.36             high                 3.442
       6            104.9             30.05             high                 3.491

                             Table A-3: ¾” Conduit Sample Results
   Figure #        Voltage            Current         Pressure         Impedance (mΩ)
                    (mV)               (A)
       1           142.400            10.140          very low              14.043
       2           189.400            20.360          very low               9.303
       3           192.400            30.660          very low               6.275

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Id. (Meliopoulos Report at 21).

       Dr. Meliopoulos determined that based upon these very low electrical resistance values,

in the event that the interior coating was subjected to the level of voltage supplied by a typical

electrical wire contained within the electrical conduit (120 to 277 volts), approximately 20,000

Amperes 13 of current would flow through the electrical conduit resulting in disintegration of the

interior coating. Id. (Meliopoulos Aff. ¶ 18) (Meliopoulos Report at 12). This testing plainly

demonstrates that in the event of an electrical fault occurring inside the electrical conduit, the

interior coating would not stop the flow of electricity.

       Second, the electrical testing allowed Dr. Meliopoulos to indirectly determine the

electrical resistivity of the material that comprises the interior coating and thus identify the

proper electrical classification of the material. Dr. Meliopoulos used the values of electrical

resistance established through his testing and the measurements of the thickness of the interior

coating as determined by Dr. Jackson to compute the electrical resistivity of the interior coating

material. Id. (Meliopoulos Aff. ¶ 20) (Meliopoulos Report at 8). The electrical resistance, R (or

electrical resistivity depending on which value is known), can be determined using the following

formula:

                                       
                               R=ρ       ,
                                       A
                               where
                               ρ is the resistivity of the material
                                is the thickness of the coating
                               A is the surface of the coating material



13 An Ampere is defined as “the practical meter-kilogram-second unit of electric current that is
equivalent to a flow of one coulomb per second or to the steady current produced by one volt
applied across a resistance of one ohm.” https://www.merriam-webster.com/dictionary/ampere
last visited August 11, 2022.
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Id. (Meliopoulos Report at 5).

       Dr. Meliopoulos used a median value of electrical resistance (8.342 milliohms, or

0.008342 ohms) derived from his testing (as an example) and plugged it into the above equation

along with the ranges of thickness (13 and 60 microns) of the interior coating as measured by Dr.

Jackson. Id. (Meliopoulos Aff. ¶ 21) (Meliopoulos Report at 8). For this calculation the

measurement of the area of the electrode is A=0.000216 meter squared; the electrical resistance

measurement is R=8.342 milliohms (0.008342 ohms); and, the range of coating thickness ℓ=13–

60 microns (13x10-6 meters and 60x10-6 meters):

                        Coating thickness of 13 microns
                              A              0.000216
                        ρ= R = 0.008342               Ω.m= 0.1386Ω.m
                                            13x10−6

                        Coating thickness of 60 microns
                              A              0.000216
                        ρ= R = 0.008342                Ω.m= 0.03003Ω.m
                                             60 x10−6

Id. (Meliopoulos Report at 8).

       This computation permitted Dr. Meliopoulos to conclude that if the interior coating

ranged from 13 to 60 microns thick (Dr. Jackson’s measurements), the electrical resistivity of the

interior coating ranged from 0.03003 to 0.1386 ohm.meters. Id. (Meliopoulos Aff. ¶ 21–22)

(Meliopoulos Report at 8). These values equate to a resistivity measurement in the range of 10-2

to 10 0 ohms.meters and when compared to the accepted values for the electrical classification of

materials (see Table 1 supra Def. Br. at 25), the material that comprises the interior coating is

considered a semiconductor. Def. Ex. 5 (Meliopoulos Aff. ¶ 23) (Meliopoulos Report at 8).

Therefore, the interior coating does not insulate against electricity. Id.

       Dr. Meliopoulos also conducted a hypothetical computation to determine the level of

electrical resistance required for the interior coating to be considered electrically insulating based

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upon the thickness of the coating as measured by Dr. Jackson. Id. (Meliopoulos Aff. ¶ 24)

(Meliopoulos Report at 6). This calculation assumed a patch (electrode) of cross-area one square

inch, the thicknesses measured by Dr. Jackson (i.e., 13 to 60 microns), and the coating material is

insulating (assuming the lowest possible resistivity value to be considered an electrical insulator

(10 12 ohm.meters)):


                             Coating thickness 13 microns
                        = 13
                            = µ m 13x10−6 m
                                    inch ) ( 0.0254
                                  (1=               m)
                                         2                  2
                       =A                       =               0.0006452 m 2
                                        13 x10−6 m
                              ρ =
                             R=    12
                                 10 Ωm              2
                                                      2.0141x1010 Ω
                                                      =
                               A       0.0006452 m

                             Coating thickness 60 microns
                        = 60
                            = µ m 60 x10−6 m
                                  (1=
                                    inch ) ( 0.0254 m)
                                         2                  2
                       =A                       =               0.0006452 m 2
                                         60 x10−6 m
                         = R ρ= 1012 Ωm     =        2
                                                       9.296 x1010 Ω
                               A        0.0006452 m
Id. (Meliopoulos Report at 6).

        This computation produced the following results: if the coating material is 13 microns

thick, the interior coating would need to have a resistance of 2.0141 x 10 10 ohms and if 60

microns thick, the interior coating would need to have to a resistance of 9.295 x 10 10 ohms. Id.

(Meliopoulos Aff. ¶ 25) (Meliopoulos Report at 6). These values are 20–92 billion ohms, which

would be a minimum resistance value for the coating to provide electrical insulation. Id.

However, based upon the direct electrical testing conducted by Dr. Meliopoulos, the actual

electrical resistance of the interior conduit is between 0.003–0.014 ohms. Id. (Meliopoulos Aff.

¶ 25) (Meliopoulos Report at 21). Thus, the interior coating does not exhibit a sufficient amount

of electrical resistance to insulate against electricity.


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        Dr. Meliopoulos’s conclusions are confirmed by the electrical testing performed on the

electrical conduit by Dr. Jackson. Dr. Jackson was retained by Shamrock to conduct electrical

testing on the electrical conduit. Pl. Ex. IV (Jackson Tr. at 41:22–42:8). Dr. Jackson conducted

three sets of electrical testing on the electrical conduit: four-point electrical resistance testing

reflected in the G2MT Labs Report (G2MT Report) (Pl. Ex. VII at sec. 4) 14; two-point electrical

resistance testing reflected in the G2MT Report (Id.); and, voltage analysis reflected in the U.S.

Corrosion Services Voltage Analysis (USCS Report) (Pl. Ex. V at 2–14).

        In a version of the G2MT report dated April 17, 2019, 15 Dr. Jackson recorded that the 4-

point test measured an electrical resistance of 70–120 milliohms (0.07–0.12 ohms) and the 2-

point test measured 0.7–1.2 ohms. Def. Ex. 11 at sec. 4; Pl. Ex. VII at sec. 4; Pl. Ex. IV (Jackson

Tr. at 125:11–25). As a result of these findings, Dr. Jackson concluded that the interior coating

“provides slightly higher electrical resistance than an uncoated pipe but does not act as an

insulator.” Def. Ex. 11 (G2MT Report dated 4/17/19 at sec. 6); Pl. Ex. IV (Jackson Tr. at 89:11–

15). Dr. Jackson testified that a material that provides a slight electrical resistance does not

qualify as an electrical insulator and, in his opinion, the interior coating of the electrical conduit

does not insulate against electricity. Pl. Ex. IV (Jackson Tr. at 90:11–92:11, 100:15–102:21).




14Dr. Jackson created several versions of the G2MT report, all of which were obtained by the
Government during discovery. Shamrock attaches the latest version dated April 30, 2019 to its
motion for summary judgment. Pl. Ex. VII. However, an earlier version of the G2MT report
created on April 17, 2019 is attached as Defendant’s Exhibit 11.

15Shamrock attached the G2MT Report, dated April 30, 2019, to its complaint in this action (see
Compl.), however this version of the G2MT Report does not reflect the initial views or
conclusions of Dr. Jackson. Pl. Ex. IV (Jackson Tr. at 107:12–108:7). After completing all
testing and technical analysis, on April 17, 2019, Dr. Jackson submitted a version of the G2MT
Report to Shamrock that Dr. Jackson considered to be final (G2MT Report dated 4/17/19). Id.
(Jackson Tr. at 80:20–82:4).
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       In addition to the analysis of electrical resistance, the G2MT report (dated April 17,

2019) noted that areas of the interior of the electrical conduit were not completely covered with

the epoxy coating and that the interior coating had a thickness of 13 to 14 microns. Id. (Jackson

Tr. at 86:5–87:10); Def. Ex. 11 (G2MT Report dated 4/17/19 at sec. 6). After submitting the

G2MT report (dated April 17, 2019) to Shamrock, it was returned to Dr. Jackson with numerous

handwritten revisions that removed the aforementioned conclusions, namely, the lack of

electrical insulation provided by the interior coating; the imperfect coverage of the interior

coating; and the thickness of the interior coating. Def. Ex. 12 (Revised G2MT Report); Pl. Ex.

IV (Jackson Tr. at 107:12–110:4). These three conclusions were omitted from the final report

that was attached to Shamrock’s complaint in this action. Compl.; Pl. Ex. VII; Pl. Ex. IV

(Jackson Tr. at 107:12–110:4). Nevertheless, Dr. Jackson testified that he stands by his initial

opinion that the interior coating of the electrical conduit does not provide insulation against

electricity. Pl. Ex. IV (Jackson Tr. 100:15–102:21).

       In addition to the G2MT test results, Dr. Jackson conducted a second form of testing

where he concluded that the interior coating of the electrical conduit produced a voltage drop of

1.55 volts when tested with a small battery. Pl. Ex. V at 2–10. Dr. Jackson again measured the

thickness of the interior coating — this time on the sample used used for the USCS Report —and

found it to be 35–60 microns thick. Pl. Ex. IV (Jackson Tr. at 156:16–22).

       Dr. Jackson’s findings do not support the conclusion that the interior coating provides

electrical insulation. For instance, to provide electrical insulation, Dr. Meliopoulos determined

that the interior coating would have to exhibit a very strong electrical resistance — between 20 to

92 billion ohms depending on the thickness of the coating. Def. Ex. 5 (Meliopoulos Aff. ¶ 25);

Def. (Meliopoulos Report at 6). Thus, irrespective of which value of electrical resistance



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measured by Dr. Jackson is considered — 0.07 to 0.12 ohms (four-point test) or 0.7 to 1.2 ohms

(two-point test) — the interior coating is insufficient to provide electrical insulation. Dr. Jackson

concedes as much. Pl. Ex. IV (Jackson Tr. at 100:15–102:21).

       Furthermore, through his many decades of experience with power systems, Dr.

Meliopoulos is familiar with the type of electrical wires that are routed through and contained in

this type of electrical conduit. Def. Ex. 5 (Meliopoulos Aff. at ¶ 18) (Meliopoulos Report at

Attachment A). These wires generate a minimum 120 volts of electricity and if an electrical

fault occurred inside of the electrical conduit, the interior coating would not withstand the

voltage supplied by the electrical wires but would disintegrate. Id. (Meliopoulos Aff. at ¶ 18)

(Meliopoulos Report at 9–11). For example, Dr. Meliopoulos applied 0.1769 volts of electricity

to the interior coating which resulted in a flow of 30 Amperes of electrical current through the

coating. Id. (Meliopoulos Report at 12). Based upon this measurement, Dr. Meliopoulos was

able to calculate that if 120 volts were applied to the interior coating, approximately 20,000

Amperes of electrical current would flow through it. Id. (Meliopoulos Aff. at ¶ 18) (Meliopoulos

Report at 12).

       Therefore, the fact that interior coating was found to cause a 1.55 voltage drop with the

application of a small battery is consistent with the conclusion that it would not insulate against

the electricity to which it would be subjected in the event of an electrical fault occurring inside

the electrical conduit. Dr. Jackson does not dispute this conclusion. Dr. Jackson testified that he

does not know whether the measurements of electrical resistance he recorded in the G2MT

Report (0.12 ohms or 1.2 ohms) would be sufficient to insulate against electricity nor whether

the interior coating would insulate against 120 volts of electricity. Pl. Ex. IV (Jackson Tr. at

134:1–135:10).



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       Thus, the electrical resistance testing performed by the experts from both parties

demonstrates that the interior coating of Shamrock’s electrical conduit does not provide

insulation against electricity. This fact is undisputed.

       Notwithstanding these undisputed facts, Shamrock argues that any electrical resistance

provided by the interior coating — regardless how slight — should qualify as insulation for

purposes of classification in Heading 8547, HTSUS. For example, Shamrock contends that the

HTSUS does not set a “minimum resistivity threshold for a material to be considered ‘insulating

material’” and that the coating on its electrical conduit “does not have to meet the ‘insulator’

threshold that Dr. Meliopoulos alleges to be classified pursuant to Heading 8547.” Pl. Br. at 28,

29; see also Pl. Br. at 21 (arguing that Dr. Meliopoulos’s classification of materials as insulators

according to the range of electrical resistivity does “not represent the meaning dictated by the Ta

riff Schedule”). For Shamrock, the fact that the interior coating causes a voltage drop of 1.5

volts and exhibits 1.2 ohms of electrical resistance16 is sufficient to be classified as insulating

material of Heading 8547. Pl. Br. at 32–33.

       However, to qualify this minimal electrical resistance as electrical insulation is belied by

the definitions cited by Shamrock in its brief and the testimony of its witnesses. Indeed, the

authorities discussed in the parties’ briefing all require something more than a slight resistance to

electricity to qualify as electrically insulating material. For instance, Shamrock cites the

following definitions of insulate: (1) “[to] prevent the passage of electricity to or from

(something) by covering it in a nonconducting material;” (2) “to separate from conducting bodies

by means of nonconductors so as to prevent transfer of electricity, heat, or sound;” and, (3)




16 These measurements were determined by Shamrock’s witness, Dr. Jackson. Pl. Ex. V at 10;
Pl. Ex. VII at sec. 4.
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“stopping the flow of electrons by use of a material.” Pl. Br. at 20. By using the words

“prevent” or “stopping” with regard to the flow of electricity, these definitions indicate

something more than merely resisting a small portion of the electricity applied to the material.

         Shamrock’s expert witnesses confirm this understanding. Dr. Jackson testified that a

material providing a small electrical resistance is not the same as providing electrical insulation

(Pl. Ex. IV (Jackson Tr. at 90:5–92:11)), and Dr. Gotro 17 testified that electrical insulation

requires a material to stop the flow of electrons. Pl. Ex. II (Deposition Transcript of Dr. Jeffrey

Gotro (Gotro Tr.) at 61:11–17).

         Accordingly, for a material to qualify as insulating it must provide something more than a

slight resistance to electricity. Rather, it must stop or prevent the flow of electricity.

IV.      THE COURT SHOULD DISREGARD THE CONCLUSIONS OF SHAMROCK’S
         PURPORTED EXPERT WITNESSES WITH REGARD TO THE ELECTRICAL
         PROPERTIES OF THE INTERIOR COATING

         The Court should disregard the testimony of Shamrock’s two purported expert witnesses

as they fail to meet the criteria Federal Rule of Evidence 702 and Daubert.

      A. Dr. Joshua Jackson

         Dr. Jackson was retained by Shamrock to analyze the insulating properties of the interior

coating of the electrical conduit. Pl. Ex. IV (Jackson Tr. at 41:22–43:3). Specifically, Dr.

Jackson analyzed the electrical resistance provided by the interior coating. Id. Dr. Jackson




17 As explained further in the next section, Dr. Gotro is president of InnoCentrix, LLC a
technical and management consulting company serving the polymer industry. Pl. Ex. I (Report
prepared by Dr. Jeffery Gotro dated March 4, 2022 (Gotro Report) at 3). Dr. Gotro holds a Ph.D.
in materials science and engineering. Id. Dr. Gotro was retained by Shamrock to characterize
the chemical composition of the internal coating and provide opinions regarding the electrical
properties of such coating. Id. (Gotro Report at 6).
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conducted electrical testing on samples of the electrical conduit and recorded the results in two

reports: the G2MT Report and the USCS Report. Id. (Jackson Tr. at 33:18–34:2).

       The findings in Dr. Jackson’s reports (Pl. Ex. V; Pl. Ex. VII) should be rejected because

he fails to meet the standards required for the admission of “scientific, technical, or other

specialized knowledge” under Rule 702. See supra, Def. Br. at 22–23. Indeed, Dr. Jackson is

not qualified to provide evidence on the electrical properties of the interior coating. According

to Rule 702, “experts may be qualified in various ways. While scientific training or education

may provide possible means to qualify, experience in a field may offer another path

to expert status.” United States v. Frazier, 387 F. 3d 1244, 1260–61 (11th Cir. 2004). By his

own admission, Dr. Jackson lacks the requisite training, education, or experience in order to

assess the electrically insulating properties of the interior coating of the electrical conduit.

       For instance, Dr. Jackson is educated and experienced in metallurgy and materials

science but does not have expertise in electricity or electrical engineering. Pl. Ex. IV (Jackson

Tr. at 23:10–20; 25:18–26:7). Prior to this matter, Dr. Jackson had never conducted an analysis

of a material to determine its electrical resistance or conducted an analysis of the electrical

resistance of a coated metal. Id. (Jackson Tr. at 27:1–28:7). He further testified that this type of

electrical testing is not a service typically offered by his laboratories — G2MT Labs and U.S.

Corrosion Services. Id. Dr. Jackson testified that he reviewed the expert report prepared by Dr.

Meliopoulos and that he is not qualified to confirm or deny Dr. Meliopoulos’s findings and

conclusions because it is outside his area of expertise. Id. (Jackson Tr. at 166:14–167:11).

       Thus, Dr. Jackson testimony demonstrates that he is not qualified to conduct the electrical

tests he performed or provide evidence regarding the electrical resistance provided by the interior




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coating due to his lack of education or experience in the fields of electricity and electrical

engineering. 18

     B. Dr. Jeffery Gotro

        Shamrock retained Dr. Jeffery Gotro to analyze the chemical composition of the interior

coating of the electrical conduit. Pl. Ex. I (Gotro Report at 6). Dr. Gotro is educated and

experienced in materials science with a specialty in polymer science. Pl. Ex. II (Gotro Tr. at

17:13–19:3, 33:14–21). In forming his opinion that the interior coating of the electrical conduit

insulates against electricity, Dr. Gotro’s technical analysis was limited to confirming the

existence of epoxy, melamine, and silicone in the interior coating of the electrical conduit. Id.

(Gotro Tr. at 109:6–113:4). Dr. Gotro did not conduct any electrical testing on the electrical

conduit but rather his conclusion was drawn exclusively from his determination as to the

chemical composition of the interior coating. Id. (Gotro Tr. at 109:6–113:4, 115:2–16:6).

        Similar to Dr. Jackson, Dr. Gotro’s opinion regarding the interior coating of the electrical

conduit should be rejected because it fails to meet the standards required for the admission of

expert evidence. First, Dr. Gotro is not qualified to opine whether the interior coating provides

electrical insulation. As explained above, Rule 702 requires an expert to be qualified by training,

education, or experience in a relevant field. Frazier, 387 F. 3d at 1260–61. By his own

admission, Dr. Gotro lacks the requisite training, education, or experience in order to determine

that the interior coating of Shamrock’s electrical conduit insulates against electricity.




18We note, however, that as a metallurgist and materials engineer, Dr. Jackson is qualified to
measure the thickness of the interior coating of the electrical conduit. Pl. Ex. V at 11–13; Def.
Ex. 11 at sec. 5–6. The Government takes no issue with Dr. Jackson providing this evidence to
the Court.
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       For instance, Dr. Gotro is educated in mechanical engineering and materials science, with

a specialty in polymers. Pl. Ex. II (Gotro Tr. at 17:13–19:3, 33:14–21). His experience is

limited to the field of materials science and polymers. Id. Dr. Gotro testified that he has no

education or experience in electrical engineering and he does not have expertise in the electrical

field. Id. (Gotro Tr. at 19:6–20, 32:12–33:21). In his work as a materials engineer, he indicated

that he frequently needs to know the electrical resistance of a material. Id. (Gotro Tr. at 19:6–

20:19). But, he also indicated that he would rely upon a qualified technician or engineer to

perform that analysis, and that he would not measure it himself. Id.

       Moreover, Dr. Gotro admitted that he is not qualified to rebut Dr. Meliopoulos’s

electrical analysis. He testified that he is not qualified to conduct the tests or calculations that

Dr. Meliopoulos used to determine electrical resistance or resistivity, nor is he qualified to opine

on the validity of Dr. Meliopoulos’s conclusions with regard to the electrical properties of the

subject interior coating. Id. (Gotro Tr. at 39:13–40:19, 73:21–75:22, 225:3–229:8). Simply put,

although Dr. Gotro is qualified to determine the chemical composition of the interior coating, he

is not qualified to analyze or determine whether the coating insulates against electricity.

       Second, the methodology underlying Dr. Gotro’s opinion that the interior coating

provides electrical insulation is not reliable. To be reliable, the Supreme Court has held that

expert testimony must consist of “scientific . . . knowledge” and that the “adjective ‘scientific’

implies a grounding in the methods and procedures of science. Similarly, the word ‘knowledge’

connotes more than subjective belief or unsupported speculation.” Daubert, 509 U.S. at 589–90.

This requires the trial court to make a “preliminary assessment of whether the reasoning or

methodology underlying the testimony is scientifically valid.” Id. at 592–93. Accordingly, the

trial court should evaluate the following factors when faced with the proffer of scientific



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testimony to determine its reliability: “(1) the testability of the hypothesis; (2) whether the theory

or technique has been subject to peer review and publication; (3) the known or potential rate of

error; and (4) whether the technique is generally accepted.” Libas, Ltd. v. United States, 193

F.3d 1361, 1367–68 (Fed. Cir. 1999).

       Failure to test a hypothesis serves as a basis to find an expert’s methodology unreliable.

For example, in Curry v. Royal Oak Enterprises, LLC, 2013 WL 3196390 (E.D.P.A. 2013), the

plaintiff’s expert opined that defendant’s product featured inadequate warnings that resulted in a

flash fire and proposed alternative warning and instructions that he claimed would have

prevented same. Id. at 5. However, the court found this opinion to be unreliable because the

expert “used little, if any methodology beyond his own intuition” to reach his conclusions. Id. at

6. “He ‘conducted no tests’ of plaintiff’s account of the accident to determine if it would in fact

result in a flash fire” or “to determine whether his recommendations would or would not result in

a flash fire.” Id. Because his hypothesis was not tested, and was based simply on his own

intuition, the court found the opinion was based upon unsupported speculation, which is not

enough to render it reliable. Id.

       Here, Dr. Gotro’s methodology for determining whether the subject interior coating

provides electrical insulation is not reliable because he performed no tests to verify his

hypothesis and instead relied upon his own intuition to reach a conclusion. Dr. Gotro’s

experience in the field of materials engineering confirm this.

       Dr. Gotro testified that he has extensive experience using polymers to insulate wires used

in electronic devices. Pl. Ex. II (Gotro Tr. at 22:3–24:15). Dr. Gotro defines “insulating” in this

context to mean preventing the flow of electrons through a material. Id. at 61:7–17. In his

experience insulating electrical wires with polymers, Dr. Gotro testified that he would



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recommend using a material with known insulating properties but that he would also ensure that

the material would, in fact, insulate against the amount of electricity necessary under the

circumstances by applying electricity and testing the material. Id. (Gotro Tr. at 30:4–32:11).

Thus, Dr. Gotro’s typical practice in his industry would be to start with a hypothesis regarding

the correct material to use for a specific application, but would also have electrical testing

conducted to determine the accuracy of that hypothesis. The Court should require nothing less in

this matter.

       Here, Dr. Gotro failed to adhere to the methodology he uses in his practice as a materials

engineer when he opined that the interior coating of the electrical conduit insulates against the

flow of electricity. Indeed, Dr. Gotro only confirmed through chemical analysis that the interior

coating contains a mixture of epoxy, melamine, and silicone. Id. (Gotro Tr. at 112:4–114:18).

Based solely upon that finding, he opined that the interior coating provides electrical insulation

because those materials are “known” to be electrically insulating. Id. However, he did not

perform electrical testing to confirm his hypothesis. Id. Dr. Gotro admitted that the conclusion

in his report that the coating is an “electrically insulating material” is merely a deduction based

upon the known chemicals in its composition. Id. (Gotro Tr. at 132:10–133:2).

       What is more, the record shows that the interior coating contains substances in addition to

epoxy, melamine, and silicone. Def. Ex.7 (October 12, 2018 letter from Pinturas Diamex stating

that the interior coating contains epoxy resin, melamine resin, silicone additives, among other

materials). However, Dr. Gotro did not conduct testing to identify these other substances and

admitted that certain metallic additives can render a material non-insulating. Pl. Ex. II (Gotro Tr.

at 85:3–89:11; 111:2–114:18).




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       Because Dr. Gotro did not test his hypothesis to confirm its accuracy, it cannot be

considered reliable. Similar to the expert opinion in Curry, without electrical testing to confirm

the insulative properties, Dr. Gotro’s opinion that the interior coating provides electrical

insulation is simply based upon his own intuition. Without confirmatory testing, his

methodology cannot be verified and the error rate cannot be established, as required by the first

and third prongs of the Daubert analysis. Thus, his opinion should be rejected by the Court as

unreliable.

       Finally, for the same reasons that Dr. Gotro’s opinion is unreliable, it is irrelevant to the

factual inquiry at hand. Rule 702 “requires that the evidence or testimony ‘assist the trier of fact

to understand the evidence or to determine a fact in issue.’ This condition goes primarily to

relevance. ‘Expert testimony which does not relate to any issue in the case is not relevant and,

ergo, non-helpful.’” Daubert, 509 U.S. at 591 (citations omitted). Here, Dr. Gotro’s opinion is

irrelevant because it will not assist the Court in determining whether the interior coating provides

electrical insulation — which is the sole factual question to be resolved in this matter (see Def.

Br. at 21–22).

       For instance, Dr. Gotro testified that he was not asked to, nor did he, conduct any

electrical testing on the subject interior coating. Pl. Ex. II (Gotro Tr. at 112:4–21, 183:3–17).

Furthermore, he did not determine the volume resistivity of the coating, he does not know how

much electricity the interior coating could insulate against, and he doesn’t know whether it

would be capable of insulating against 120 volts of electricity. Id. (Gotro Tr. at 115:5–117:10,

135:2–138:15, 142:5–12). Similarly, Dr. Gotro testified that he was not qualified to conduct the

work performed by Dr. Meliopoulos, or opine on the accuracy of his tests and analysis. Id.

(Gotro Tr. at 73:21–75:22).



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        The entirety of Dr. Gotro’s work in this case consists of confirming that epoxy,

melamine, and silicone are some of the chemical components that make up the interior coating

— a fact the Government does not dispute. Id. (Gotro Tr. at 109:6–114:18). This finding,

combined with Dr. Gotro’s opinion that epoxy, melamine, and silicone are known to provide

electrical insulation, are both irrelevant because they do not assist the Court in determining

whether the interior coating of Shamrock’s electrical conduit does, in fact, insulate against

electricity. 19

                                  *        *      *       *      *

        In sum, the reports provided by Drs. Jackson and Gotro (Pl. Ex. I; Pl. Ex. V; Pl. Ex. VII)

should be disregarded by the Court because they fail to satisfy the standards set by the Supreme

Court in Daubert for the acceptance of expert evidence.

V.      THE ELECTRICAL CONDUIT IS EXCLUDED FROM CLASSIFICATION IN
        HEADING 8547 BECAUSE THE INTERIOR COATING IS DESIGNED TO
        PREVENT CORROSION, NOT TO PREVENT THE FLOW OF ELECTRICITY

        Electrical conduit that is coated on the interior with a varnish to prevent corrosion is

excluded from classification in Heading 8547 and appropriately classified in Section XV, which

includes Heading 7306. Explanatory Note 85.47(B) (“Metal tubing simply coated with varnish

to prevent corrosion is excluded (section XV).”) (emphasis in original).

        Varnish is defined as “a liquid preparation that when applied to a surface dries to form a

hard lustrous typically transparent coating.” https://www.merriam-

webster.com/dictionary/varnish last visited August 11, 2022. A review of the samples produced



19Dr. Gotro testified that the statement in his report that compositions containing epoxy,
melamine, and silicone are known to be electrically insulating does not pertain specifically to the
interior coating of the electrical conduit but rather to materials in general that exhibit similar
compositions. Id. (Gotro Tr. at 114:7–18).

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in discovery (Def. Ex. 2) and documents produced by Shamrock indicate that the interior coating

is considered a varnish. Def. Ex. 7 (“This type of materials [sic] are widely used in the

formulation of insulating varnishes and resins.”)

       Furthermore, Shamrock’s witnesses establish that the interior coating serves the purpose

of corrosion prevention rather than electrical insulation. For example, Mr. Gambee testified that

the interior coating provides protection against rust. Pl. Ex. VIII (Gambee Tr. at 86:16–19). Dr.

Jackson, a metallurgist that specializes in corrosion, testified that rust is one of the most common

manifestations of corrosion and that based upon the chemicals present in the interior coating it is

his opinion that it provides protection against corrosion. Pl. Ex. IV (Jackson Tr. at 180:20–

182:2). Similar conduit produced by Rymco — that Shamrock admits is the same product as the

electrical conduit at issue — is advertised as being manufactured with an interior coating

designed to prevent rust and provide lubrication during wire installation. Def. Ex. 14; Pl. Ex.

VIII (Gambee Tr. at 58:8–59:1, 65:2–9).

       That the interior coating serves to protect against corrosion is confirmed by the

requirements of UL 797. UL 797 provides that the electrical conduit “is provided with a zinc,

zinc-based, nonmetallic, or other alternate corrosion-resistant exterior coating and an organic or

zinc interior coating.” Def. Ex. 8 (UL 797 at sec. 1.1) (emphasis added). Shamrock describes

the material of the interior coating as “organic epoxy enamel.” Def. Ex. 1 (Pl. Resp. to Rogs.

No. 3). The UL standard defines organic coating as “interior coating(s), other than one

consisting solely of zinc, which, upon evaluation, has demonstrated the ability to provide the

level of corrosion resistance necessary where the coating is not subject to physical damage.” Def.

Ex. 8 (UL 797 at sec. 3.3.




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        Because the interior coating does not provide electrical insulation (see Def. Br. at 18–35)

but instead prevents corrosion, it is excluded from classification in Heading 8547 as per

Explanatory Note 85.47(B) and is properly classified in Section XV, which includes Heading

7306.

VI.     SHAMROCK’S RELIANCE ON ADMINISTRATIVE RULINGS IS MISPLACED

        Shamrock cites multiple CBP rulings in support of its desired classification in this case.

Pl. Br. at 25–27 (citing CBP Rulings HQ 966525 (September 17, 2004), N290590 (October 19,

2017), and N306508 (February 21, 2020)). However, these rulings are not binding on the Court

and are not relevant to the present set of circumstances.

        In a civil action brought pursuant to 19 U.S.C. § 1515 contesting the denial of an

administrative protest filed in accordance with 19 U.S.C. § 1514(a), a party invokes the

jurisdiction of the Court under 28 U.S.C. § 1581(a). Under 28 U.S.C. § 1581(a), the Court

reviews CBP’s classification determination de novo based on the pleadings and record before it.

See 28 U.S.C. § 2640(a)(1).

        Although CBP’s rulings are relevant insofar as they have to the “power to persuade”

(United States v. Mead Corp., 533 U.S. 218, 235 (2001)), they are not binding on the Court (see

MetChem, Inc. v. United States, 513 F.3d 1342, 1345 (Fed. Cir. 2008)), and rulings are not

entitled to deference when they do not pertain to the merchandise under consideration. Lerner

New York, Inc., 908 F. Supp. 2d at 1331.

        Here, CBP Rulings HQ 966525 and N290590 are not relevant to the Court’s analysis

because they do not pertain to the merchandise under consideration. Ruling HQ 966525 involves

steel fittings lined with plastic insulating material and ruling N290590 pertains to cast iron

connectors that are lined with thermoplastic insulators.



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        Furthermore, CBP Ruling N306508 supports interpreting Heading 8547 pursuant to the

common meaning identified by the Government. In that proceeding, CBP determined that “the

terms of heading 8547, [HTSUS], dictate that conduit tubing classified therein must be

electrically insulting.” N306508 (February 21, 2020) at 1 (emphasis added). Consequently,

CBP considered the surrounding terms in the heading and the intended purpose of the material

within the electrical field in interpreting the phrase “insulating.” As for the facts, Ruling

N306508 offers little guidance for this case as CBP did not have the benefit of electrical testing

to determine whether the product at issue in that ruling did in fact insulate against electricity. Id.

In this respect, the ruling is not helpful.




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                                        CONCLUSION

       For the foregoing reasons, this Court should deny plaintiff’s motion for summary

judgment, grant the Government’s cross-motion for summary judgment, and dismiss this case.

                                           Respectfully,

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Dated: August 11, 2022




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                        CERTIFICATE OF COMPLIANCE

       I, Peter A. Mancuso, an attorney in the Office of the Assistant Attorney General,

Civil Division, Commercial Litigation Branch, International Trade Field Office, who is

responsible for the Government’s memorandum in support of defendant’s cross-motion

for summary judgment, dated August 11, 2022, relying upon the word count feature of

the word processing program used to prepare the memorandum, certify that this

memorandum complies with the word count limitation under the Court’s chambers

procedures, and contains 13,445 words.


                                                   /s/ Peter A. Mancuso
